 

l have been informed that a conflict of interest exists due to the fact that the Federal Pub|ic
Defender’s Oftice currently represents both myself and an individual named Thomas

Lofton.

l further understand that for the Federal Pub|ic Defender’s Office to continue to represent
me, both myself and Mr. Lofton, must waive any conflict, both orally and in writing. lf that
were to occur, | have been made aware that the Federal Pub|ic Defender’s Oflice will
make an application to withdraw from Mr. Lofton’s case and continue to represent me. l
know for that happen, however, both myself and Nlr. Lofton need to waive any conflict.
Otherwise, the Federal Pub|ic Defender’s Office will be unable to represent either of us.
Fina||y, l have been informed that Mr. Lofton has, in fact, waived the subject conflict of

interest.

| have been appointed a conflict free lawyer to advise me of my rights with respect to the
current situation. Conflict free counsel has discussed the conflict with me and what will
happen if l waive the conflict and what will happen if l do not waive the conflict He has
answered any questions l have about the present situation.

After meeting with conflict free counsel, l am waiving any objections regarding the conflict
and requesting that the Federal Pub|ic Defenders’ Office continue to represent me.

Www~»

RICHARD LEON W|LBERN

DATED: June /L, 2018 %\

SCO`I`I' GREEN, ESQ. l
Conflict Free Counsel

 

DATED:< June LL_, 2018

United States v. Richard Leon Wilbern l
17-CR-6016 and 17-CR-6017

